Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 1 of 12 Page ID #1286




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF ILLINOIS

  JANIAH MONROE, MARILYN                            )
  MELENDEZ, LYDIA HELÉNA VISION,                    )
  SORA KUYKENDALL, and SASHA                        )
  REED,                                             )
                                                    )
                 Plaintiffs,                        )
                                                    )
  v.                                                )   Civil No. 3:18-cv-00156-NJR-MAB
                                                    )
  JOHN BALDWIN, STEVE MEEKS, and                    )
  MELVIN HINTON,                                    )
                                                    )
                 Defendants.                        )




                        PLAINTIFFS’ REPLY IN SUPPORT OF
                      MOTION FOR A PRELIMINARY INJUNCTION

       In order to receive basic care to address serious medical needs, Plaintiffs have no choice

but to seek a preliminary injunction against Defendants. There is no dispute that Plaintiffs and a

putative class of similarly situated individuals require treatment for gender dysphoria. Yet

Plaintiffs and the putative class continue to endure abysmal and life-threatening care at the hands

of poorly trained or indifferent IDOC staff under Defendants’ direction and control.

       In response to Plaintiffs’ claims, Defendants argue that IDOC meets its constitutional

obligations by providing some care to some Plaintiffs. The law, however, requires more. The

Seventh Circuit has “repeatedly … rejected the notion that the provision of some care” means that

a party has met “the basic requirements of the Eighth Amendment.” Petties v. Carter, 836 F.3d

722, 731 (7th Cir. 2016). In this case, that inadequate “care” puts Plaintiffs and the putative class

at daily risk of severe physical and mental harm.
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 2 of 12 Page ID #1287




         Defendants’ own admissions prove their failure to adequately care for the Plaintiffs. IDOC

has never allowed a transgender individual to obtain gender-affirming surgery (Opp. at 7), and

refuses to even evaluate it as an option for prisoners who request it (Melendez Decl. ¶ 8;

Kuykendall Decl. ¶ 9). IDOC’s “Transgender Committee,” which contains voting members with

no medical background, “must be consulted” prior to making medical decisions such as initiation

of hormone therapy. (Opp. at 6.) IDOC has no protocol in place regarding the types or dosages

of hormones that should be provided (id.), despite the fact that there are well-established standards

of care governing the same, which they claim to be following (Mot. at 4, 11). The list goes on and

on. Meanwhile, Defendants fail to address entire portions of Plaintiffs’ opening brief. Even more

glaring, Defendants do not even mention, much less attempt to rebut, Plaintiffs’ experts—an

endocrinologist and a psychologist both specializing in transgender health issues.

         As long as IDOC’s deliberate indifference toward Plaintiffs’ care is allowed to continue,

Plaintiffs will continue to suffer severe emotional and physical harm, including risk of self-harm,

auto-castration, and suicide.

I.       PLAINTIFFS MEET THE STANDARD FOR A PRELIMINARY INJUNCTION

         A.       Plaintiffs Have Demonstrated Irreparable Harm, and that Money Damages
                  are an Insufficient Remedy.

         Absent a preliminary injunction, Plaintiffs will continue to suffer from Defendants’

deliberate indifference. Plaintiffs detailed the direct, negative effects of Defendants’ indifference

in their opening brief, including severe risk of worsening physical and mental health, self-harm,

social isolation, and fears for their safety—none of which have an adequate remedy at law. 1


1
  Defendants make the absurd and heartless argument that Plaintiffs have made a “tactical decision” not to seek
damages. (Opp. at 9–10.) Defendants therefore conclude that damages would be sufficient to repair the injuries posed
by IDOC’s deliberate indifference, barring Plaintiffs’ request for injunctive relief. (Id.) But the ongoing physical and
mental anguish Plaintiffs are suffering due to Defendants’ failure to treat their gender dysphoria cannot be remedied
by money. See, e.g., Flower Cab Co. v. Petitte, 685 F.2d 192, 195 (7th Cir. 1982) (in prison conditions cases, “the
quantification of injury is difficult and damages are therefore not an adequate remedy.”).

                                                           2
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 3 of 12 Page ID #1288




Suffering from Defendants’ failure to provide adequate care, Plaintiffs committed acts of self-

harm, including attempts at auto-castration. (Monroe Decl. ¶¶ 3–4; Kuykendall Decl. ¶ 4.) Several

Plaintiffs attempted suicide. (Monroe Decl. ¶ 5; Reed Decl. ¶ 2; Kuykendall Decl. ¶ 2.)

       These harmful and life-threatening acts were a direct result of Defendants’ failure to treat

Plaintiffs’ gender dysphoria. For example, IDOC’s inadequate provision of hormone therapy, and

its denial or delay in the provision of gender-affirming undergarments and the opportunity for

social transition, exacerbate symptoms of gender dysphoria. (Ettner Decl. ¶¶ 68–73, 75, 126.)

Defendants do not dispute that gender dysphoria is a serious medical condition that can lead to

extreme harm if left untreated, or if treated improperly. Yet they persistently ignore the substantial

harms already suffered by Plaintiffs, as well as the ongoing potential for future harm.

       Defendants argue that because Plaintiffs were granted access to hormone therapy since

they filed this lawsuit, monetary damages are Plaintiffs’ only available remedy. Incorrect. The

hormone therapy provided by IDOC, often after substantial and needless delay, is woefully

inadequate. (Tangpricha Decl. ¶¶ 62–72.) IDOC medical staff prescribe transgender inmates the

wrong form of hormones (id. ¶¶ 53–54, 56, 64); they prescribe the wrong, typically too low,

dosages (id. ¶¶ 49–50, 54, 58–59, 64); and they fail to monitor the hormone levels of these patients

according to the applicable standards of care (id. ¶¶ 46–48, 54, 56, 59, 64–65). Defendants’

incompetent provision of hormone therapy not only fails to adequately treat Plaintiffs’ gender

dysphoria; it creates serious additional health risks for these individuals. (Id. ¶¶ 62–65.)

Defendants do not even attempt to argue to the contrary.

       Defendants also allege that because one of the named Plaintiffs, Janiah Monroe, was

transferred to a female facility, she is ineligible for the requested injunctive relief. (Opp. at 10.)

Putting aside that Ms. Monroe requested other relief that was denied—such as an evaluation for



                                                  3
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 4 of 12 Page ID #1289




the gender-affirming surgery she needs by a competent medical provider—Defendants ignore that

this case involves numerous Plaintiffs and a putative class of similarly situated individuals.

Defendants cannot magically cure the ongoing harm posed by IDOC’s deliberate indifference by

addressing a discrete issue involving a single Plaintiff.

         B.       Plaintiffs Have Demonstrated Likelihood of Success on the Merits.

         Defendants admit that Plaintiffs “need only show a better than negligible chance of

prevailing … [t]his burden is low.” (Opp. at 10.) Yet Defendants address the merits of only two

of Plaintiffs’ nine requests for relief: hormone therapy and gender-affirming surgery. Even

confining their discussion to these two claims, Defendants’ arguments fail.2

         With regard to hormone therapy, Defendants argue that Plaintiffs’ claims are foreclosed by

a distorted reading of Mitchell v. Kallas, 895 F.3d 492 (7th Cir. 2018). In Mitchell, the Seventh

Circuit in fact reversed the dismissal of one claim, though it also held that the medical director of

a Wisconsin prison was entitled to qualified immunity on the claim that her delay in assessing a

transgender prisoner for hormone therapy was unreasonably long. Id. at 500-01.

         Mitchell is inapposite. First, the Mitchell court had “little evidence about the typical length

of these evaluations [for initiation of hormone treatment], either in prisons or in the community.”

Id. Not so here. Plaintiffs have made a strong factual showing based on records obtained in

discovery and expert testimony on this topic. Medical records show an undeniable pattern of



2
  Defendants argue that because IDOC does not have written policies in place regarding provision of much-needed
care of transgender inmates with gender dysphoria, there “are no policies to be enjoined here.” (Opp. at 2.) This
argument is a red herring. As outlined in detail in Plaintiffs’ opening brief, Defendants have demonstrated a clear
pattern of inadequate medical treatment for transgender inmates, which poses an ongoing and serious risk of harm to
Plaintiffs and putative class members. This Court has the clear authority to enjoin this conduct—whether articulated
in a written policy or not. See, e.g., Wellman v. Faulkner, 715 F.2d 269, 272 (7th Cir. 1983) (“As a practical matter,
‘deliberate indifference’ can be evidenced by ‘repeated examples of negligent acts which disclose a pattern of conduct
by the prison medical staff.’”) (quoting Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir. 1980)); Gates v. Cook, 376 F.3d
323, 337 (5th Cir. 2004). The very fact that there are no policies in place to ensure that adequate medical care is
provided to transgender inmates is exactly the problem, along with the lack of medical staff with sufficient expertise
and training to implement such policies.

                                                          4
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 5 of 12 Page ID #1290




delays in providing hormones even after hormones have been recommended by facility medical

staff. (See Tangpricha Decl. ¶¶ 63–66; Ettner Decl. ¶¶ 125–130.) Expert testimony, as well as the

Defendants’ own records, demonstrate the ease of starting someone on hormone therapy, the

extremely limited medical bases for delaying such care, and the Committee’s lack of any medical

justification for denying hormone therapy to patients who meet the standards. (See Ettner Decl.

¶¶ 127, 133; Tangpricha Decl. ¶ 43.) To make matters worse, the delay in assessing transgender

inmates is just part of a continuum of inadequate and dangerous treatment. Second, the record in

that case showed the prisoner was experiencing “non-life-threatening but painful conditions,” 895

F.3d at 500 (citation omitted), whereas the record here shows that Plaintiffs were suicidal and

engaging in efforts to self-castrate due to delays in providing necessary hormone therapy.

       Regarding gender-affirming surgery, Defendants incorrectly downplay the significance of

the WPATH standards while dismissing any claim for surgery using highly questionable readings

of authority from other jurisdictions. (See Ettner Decl. ¶ 24.) Defendants claim that “the IDOC

policy [regarding surgery] allows for individualized assessment.” (Opp. at 12.) The facts tell a

different story. Defendants admit that IDOC has never approved a request for surgery. A policy

of “individualized assessments” that always results in a denial of treatment denial is illusory.

Instead, the record demonstrates that IDOC maintains a de facto policy of denying gender-

affirming surgery across the board, even in cases where it is medically necessary to relieve

symptoms of gender dysphoria. (Mot. at 15.) This is a blatant violation of the Defendants’

constitutional obligations: blanket policies denying surgical treatment for gender dysphoria, such

as IDOC’s de facto policy, are unconstitutional under the Eighth Amendment. Fields v. Smith,

653 F.3d 550, 559 (7th Cir. 2011).




                                                5
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 6 of 12 Page ID #1291




          IDOC’s de facto policy of denial is also evident from the admissions of its own medical

staff. For example, Plaintiff Monroe requested gender-affirming surgery from IDOC multiple

times over the course of years, and each time IDOC denied treatment without even evaluating her.

(Monroe Decl. ¶ 9.) In discussing one of Ms. Monroe’s grievances regarding denial of surgery,

the Psychology Services Administrator at Pontiac Correctional Center, Dr. John Garlick, wrote to

a colleague: “I guarantee you he [sic] is not approved or, for that matter, even considered for

reassignment surgery. I strongly suggest you consult the Legal Department before responding to

this.” (Ex. 1, 000058.) 3 IDOC simply does not take requests for gender-affirming surgery

seriously, even when medically necessary.

          C.       Defendants Fail to Articulate a Cognizable Harm to the “Public Interest.”

          Defendants argue that amorphous “security” concerns outweigh Plaintiffs’ need for

adequate treatment of their serious medical condition. They recite case law holding that prison

administrators have an interest in maintaining order within their prisons and instituting discipline

among the prisoners. (Opp. at 13–14.) None of the cited cases are applicable to the case at hand,

and Defendants fail to connect any “security” concerns to any perceived harm. See Fields, 653

F.3d at 558 (holding that the district court did not abuse its discretion in concluding that

defendants’ evidence failed to establish any security benefits associated with a ban on hormone

therapy and surgery).

          First, Defendants do not attempt to link any requested treatment with an identifiable risk.

For example, they do not attempt to explain how provision of adequate hormone therapy to

prisoners would threaten prison security, or how provision of gender-affirming clothing would

hamper the staff’s ability to maintain discipline.



3
    All emphasis added unless otherwise noted.

                                                     6
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 7 of 12 Page ID #1292




        Second, Defendants’ complaint that Plaintiffs “would remove the Transgender Committee

from the process of determining proper care and placement” misses the mark. (Opp. at 13.) The

problem is that this unqualified Committee should not be making decisions about medically

necessary care in the first place. The solution cannot be to sustain a broken system merely because

it is already present.

        Last, Defendants’ contention that IDOC “has not refused to transfer all transgender inmates

to Logan, but reviews transfer requests in a deliberative manner” is misleading at best. (Opp. at

14.) There have been two transfers of transgender female inmates to Logan Correctional Center,

and both occurred very recently and only after two separate lawsuits were filed demanding that

relief after both had been sexually assaulted. See Monroe v. Baldwin, C.D. Ill., No. 19-cv-1060;

Hampton v. Baldwin, S.D. Ill., No. 18-cv-550. Consistent with prior rhetoric, Defendants insist

that transfer decisions are made on “an individualized basis.” (Opp. at 14.) The facts say

otherwise. Only after an inmate files a federal lawsuit does the inmate get considered for transfer.

There is no other policy.

II.     SOVEREIGN IMMUNITY AND THE PRISON LITIGATION REFORM ACT
        (PLRA) DO NOT BAR PLAINTIFFS’ CLAIMS

        Defendants claim that Plaintiffs’ claims are barred (1) by sovereign immunity, because

there is no ongoing violation of federal law, and (2) by the PLRA, because “[t]he requested relief

[ ] extends beyond what is necessary to correct the alleged violations of federal law.” (Opp. at 15.)

Both arguments are wrong.

        A.      Sovereign Immunity Does Not Bar Plaintiffs’ Claims of Deliberate
                Indifference Subjecting Plaintiffs to Ongoing and Immediate Harm.

        Defendants’ violations of the Eighth Amendment are ongoing and will continue until the

Court intervenes. Defendants attempt to excuse their behavior by a scattershot listing of “too little,

too late” steps—namely that (i) Plaintiffs were granted access to hormone therapy, (ii) Plaintiffs

                                                  7
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 8 of 12 Page ID #1293




were provided with sports bras, (iii) IDOC provided some training regarding “the importance of

social transition, including using proper names and pronouns,” and (iv) one Plaintiff (Ms. Monroe)

was transferred to an all-female facility. (Opp. at 10, 17–19.) Even taken together, these actions

do not support Defendants’ attempt to hide behind sovereign immunity.

       First, these actions do nothing to address the continuing inadequacy of Plaintiffs’ hormone

therapy. Even though therapy was approved for some Plaintiffs, it was only after extreme and

unjustified delay.   Even when approved, Plaintiffs’ current hormone therapy is woefully

inadequate to treat their gender dysphoria and, in some cases, puts their present health at risk.

(Tangpricha Decl. ¶¶ 50–51, 53, 56, 59, 62, 64–65.) Defendants set forth no evidence that IDOC

is training clinicians to provide adequate hormone therapy. That is not surprising, given that none

of the members of the Transgender Committee are qualified to provide the Plaintiffs with the

medical care they require. (Ettner Decl. ¶¶ 134–35; Mot. at Ex. 2.)

       Second, these actions do nothing to address the myriad of other continuing harms that

presently threaten Plaintiffs’ well-being. Aside from inadequate types and dosages of hormones,

several Plaintiffs are in serious need of transfer to an all-female facility but have not filed

individual lawsuits to request it. (Kuykendall Decl. ¶ 12; Reed Decl. ¶ 13; Melendez Decl. ¶ 9;

Vision Decl. ¶ 18.) Plaintiffs, like Ms. Monroe, also repeatedly request surgery, yet are denied

medical evaluation for it, without any valid medical justification. (Ettner Decl. ¶ 80.) Defendants

do not articulate any rationale for IDOC’s de facto blanket rule against providing surgery or

gender-affirming clothing (other than bras) or grooming items, for any Plaintiff.

       Finally, Defendants’ sovereign immunity argument ignores that this case involves a

putative class action. Defendants do not even attempt to argue that there is no ongoing harm to

the putative class members. Nor could they. As Plaintiffs detailed in their opening brief, IDOC



                                                8
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 9 of 12 Page ID #1294




routinely denies and delays hormone therapy to transgender prisoners without any legitimate

medical justification. (Ettner Decl. ¶¶ 127, 133.) As with the named Plaintiffs, once hormone

therapy is prescribed to transgender prisoners, it is ineffective and potentially dangerous due to

incorrect prescriptions and dosages. (Tangpricha Decl. ¶ 69.) And IDOC’s de facto policies of

denying gender-affirming surgery, gender-affirming clothing and grooming items, and transfer to

all-female facilities harm all putative class members, not just the named Plaintiffs.

        B.      Plaintiffs’ Requested Relief is Narrowly Tailored to Address the Harm Posed
                by IDOC’s Deliberate Indifference.

        The PLRA does not bar Defendants’ claims. The statute does not materially alter the

standard Plaintiffs must meet for a preliminary injunction. See Gomez v. Vernon, 255 F.3d 1118,

1129 (9th Cir. 2001); see also Fields, 653 F.3d at 558 (citing Gomez). For any preliminary

injunction, the relief requested must be “narrowly tailored to remedy the specific harm.” Neb.

Dep’t of Health & Human Servs. v. Dep’t of Health & Human Servs., 435 F.3d 326, 330 (D.C. Cir.

2006) (citation omitted). The requested relief meets that standard—as discussed in detail in

Plaintiffs’ opening brief, the requested relief tracks the very constitutional violations that Plaintiffs

are suffering, and therefore is narrowly tailored to remedy them. See, e.g., Norsworthy v. Beard,

87 F. Supp. 3d 1164, 1194–95 (N.D. Cal. 2015) (“An injunction granting [transgender inmate

plaintiff] access to adequate medical care, including referral to a qualified surgeon for SRS, is

narrowly drawn.”); Hicklin v. Precynthe, No. 4:16-cv-01357-NCC, 2018 WL 806764, at *15 (E.D.

Mo. Feb. 9, 2018) (granting preliminary injunction and ordering defendant “to provide Ms. Hicklin

with care that her doctors deem to be medically necessary treatment for her gender dysphoria,

including hormone therapy, access to permanent body hair removal, and access to ‘gender-

affirming’ canteen items”); Edmo v. Idaho Dep’t of Corr., 358 F. Supp. 3d 1103, 1129 (D. Idaho




                                                   9
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 10 of 12 Page ID #1295




 2018) (granting preliminary injunction ordering Defendants to provide transgender inmate plaintiff

 with “adequate medical care, including gender confirmation surgery”).

        Defendants’ only argument that Plaintiffs’ requested relief is not sufficiently narrow relates

 to IDOC’s Transgender Committee. They incorrectly claim that Plaintiffs made “no showing that

 the use of the Transgender Committee itself is a violation of federal law.” (Opp. at 16.) Incorrect.

 Plaintiffs’ experts explained in detail how the Transgender Committee plays a central role in

 systematically depriving transgender inmates with gender dysphoria of much-needed care. For

 example, the Committee (i) consistently makes decisions to arbitrarily and/or unreasonably

 withhold hormone therapy from transgender inmates who were diagnosed with gender dysphoria

 (Ettner Decl. ¶¶ 126–30); (ii) denies gender-affirming clothing and grooming items when they are

 medically indicated (id. ¶ 131); and (iii) has never authorized a medical evaluation for gender-

 affirming surgery (id. ¶ 132).

 III.   CONCLUSION

        The Court should grant Plaintiffs’ motion for a preliminary injunction, and provide the

 specific relief requested in their complaint and in the opening brief submitted in support of the

 motion.




                                                 10
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 11 of 12 Page ID #1296




  Dated: June 20, 2019                 Respectfully submitted,

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                                      11
Case 3:18-cv-00156-NJR Document 147 Filed 06/20/19 Page 12 of 12 Page ID #1297




                                 CERTIFICATE OF SERVICE

        I certify that on June 20, 2019, I electronically filed the foregoing document and any

 attachments with the Clerk of this Court by using the CM/ECF system, which will accomplish

 service through the Notice of Electronic Filing for parties and attorneys who are Filing Users.



                                              /s/ Brent P. Ray
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